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     Attorneys for Plaintiff
13   LAURI VALJAKKA
14                       UNITED STATES DISTRICT COURT
15                    NORTHERN DISTRICT OF CALIFORNIA
16                               OAKLAND DIVISION
17

18   LAURI VALJAKKA,                               Case No. 4:22-cv-01490-JST
19               Plaintiff,                        PLAINTIFF VALJAKKA’S
20
                                                   MEMORANDUM OF LAW IN
           v.                                      OPPOSITION TO NETFLIX’S
21
                                                   MOTION FOR LEAVE TO AMEND
     NETFLIX, INC.,                                ITS ANSWER TO ADD A SINGLE
22
                                                   CUVTA COUNTERCLAIM
                 Defendant.
23                                                 Judge: Hon. Jon S. Tigar
                                                   Date: September 21, 2023
24                                                 Time: 2:00 p.m.
25                                                 Crtrm: 6 – 2nd Floor
26
           Plaintiff Lauri Valjakka (“Valjakka”) files this memorandum of law in
27
     opposition to Defendant Netflix, Inc.’s (“Netflix” or “Defendant”) Motion for
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 1   Leave to Amend Its Answer and in support thereof states as follows:
 2         Defendant’s motion for leave to amend its answer should be denied as the
 3   proposed amended answer fails to allege a sufficient factual basis from which a
 4   cognizable claim for a violation of the CUVTA could be found. Defendant’s
 5   proposed amended answer fails to allege that any transfer by Valjakka “puts beyond
 6   [the creditor's] reach property [the creditor] otherwise would be able to subject to
 7   the payment of [ ] debt.” Opperman v. Path, Inc., 87 F. Supp. 3d 1018 (N.D. Cal.
 8   2014), citing Mehrtash v. Mehrtash, 93 Cal.App.4th 75, 80, 112 Cal.Rptr.2d 802
 9   (2001). Without citing to any factual basis, Defendant’s proposed amended answer
10   merely recites a bald legal conclusion that because of Valjakka’s licenses to CDN
11   Licensing Finland Oy, “Netflix will have no ability to recover its cognizable,
12   actionable claim.”1
13         The CUVTA covers transactions to a third-party beneficiary, one whom the
14   creditor cannot enforce a judgment against for the same claim against the debtor.
15   The CUVTA says of the creditor's remedies, "In an action for relief against a
16   transfer or obligation under this chapter, a creditor, subject to the limitations in
17   Section 3439.08, may obtain: (1) Avoidance of the transfer or obligation to the
18   extent necessary to satisfy the creditor's claim." Cal. Civ. Code § 3439.07. This
19   protects creditors from debtors who seek to immunize themselves from liability by
20   transferring their assets to a third-party before or after a judgment is rendered
21   against them, leaving no reachable assets with which they can pay their debt.
22   Transfers that do not hinder or delay a creditor’s ability to collect are not fraudulent
23   under the CUVTA. "A creditor cannot premise a UFTA claim on a transfer unless
24   the “the transfer puts beyond [the creditor's] reach property [the creditor] otherwise
25   would be able to subject to the payment of [ ] debt.” Opperman v. Path, Inc., 87 F.
26   Supp. 3d 1018 (N.D. Cal. 2014), citing Mehrtash v. Mehrtash, 93 Cal.App.4th 75,
27   80, 112 Cal.Rptr.2d 802 (2001).
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 1         California courts have consistently held that the CUVTA only applies to
 2   transactions between two separate parties. In Lo v. Lee the court said, “A fraudulent
 3   conveyance is a transfer by the debtor of property to a third person undertaken
 4   with the intent to prevent a creditor from reaching that interest to satisfy its
 5   claim.” [emphasis added]. Lo v. Lee, 24 Cal. App. 5th 1065, 234 Cal. Rptr. 3d 824
 6   (2018), citing Yaesu Electronics Corp. v. Tamura 28 Cal.App.4th 8, 13, 33
 7   Cal.Rptr.2d 283. (1994).
 8         Defendant however misinterprets the CUVTA and attempts to apply it to a
 9   transfer by Valjakka “from himself to himself”. Defendant cites no California case
10   wherein the CUVTA is successfully applied to prevent a Defendant from
11   transferring assets either to itself, or to a corporation wholly owned by itself.
12         CONCLUSION
13         Because actual harm to the creditor is necessary to assert a CUVTA claim,
14   Defendant has failed to assert any factual basis from which one could infer actual
15   harm, and for the reasons laid out in Valjakka’s response to Defendant’s motion for
16   a preliminary injunction filed concurrently, Defendant’s motion for leave to amend
17   should be denied.
18
     Dated: September 4, 2023                Respectfully submitted,
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